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                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


    JENNIFER COUSINS, MATTHEW
    COUSINS, P.C.,, M.C., S.C., N.C.,
    WILL LARKINS, DAVID DINAN,
    VIKRANTH REDDY GONGIDI,
    K.R.D., R.R.D. and CENTERLINK,
    INC.,

                       Plaintiffs,

    v.                                             Case No: 6:22-cv-1312-WWB-LHP

    THE SCHOOL BOARD OF ORANGE
    COUNTY, FLORIDA, THE SCHOOL
    BOARD OF INDIAN RIVER
    COUNTY, FLORIDA, THE SCHOOL
    BOARD OF DUVAL COUNTY,
    FLORIDA and THE SCHOOL BOARD
    OF PALM BEACH COUNTY,
    FLORIDA,

                       Defendants




                                           ORDER

          This cause came on for consideration without oral argument on the following

    motion filed herein:

          MOTION: MOTION FOR SPECIAL ADMISSION (Doc. No. 32)

          FILED:       August 10, 2022
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          THEREON it is ORDERED that the motion is DENIED without
          prejudice.

          The motion fails to comply with Local Rule 2.01(c)(4). While the motion

    states that Jennifer Vail, Esq. has “appeared in the last thirty-six months in these

    cases in state or federal court in Florida[,]” the motion does not identify any cases.

    Doc. No. 32.    Therefore, it is not clear what cases, if any, Attorney Vail has

    appeared in during the last thirty-six months.      See Local Rule 2.02(c)(4).   Any

    renewed motion must fully comply with the Court’s Local Rules.

          DONE and ORDERED in Orlando, Florida on August 10, 2022.




    Copies furnished to:

    Counsel of Record
    Unrepresented Parties




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